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                                   UNITED STATES DISTRICT COURT
                               FOR THE EASTERN DISTRICT OF MICHIGAN
                                        SOUTHERN DIVISION


UNITED STATES,

          Plaintiff,
                                                                                 Case No.   11-20129
v.

VINCENT JOHN WITORT (D-8),

          Defendant.
                                                                /

          OPINION AND ORDER DENYING DEFENDANT’S MOTION TO DISMISS

          Before the court is a “Motion to Dismiss, or, in the Alternative, for Revocation of

Order of Detention” filed by Defendant Vincent John Witort. The Government opposes

the motion, and the court conducted a hearing on the matter on April 11, 2014. After

hearing argument and receiving testimony, the court found no 5th or 6th Amendment

violations resulting from Defendant’s pretrial detention, nor did the court find that

release on bond is appropriate. For the reasons stated fully on the record,

          IT IS ORDERED that the motion to dismiss [Dkt. ## 717 & 718] is DENIED.

                                                                s/Robert H. Cleland
                                                               ROBERT H. CLELAND
                                                               UNITED STATES DISTRICT JUDGE
Dated: April 21, 2014

I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, April 21, 2014, by electronic and/or ordinary mail.

                                                                s/Lisa Wagner
                                                               Case Manager and Deputy Clerk
                                                               (313) 234-5522

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